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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     LAREDO DIVISION

UNITED STATES OF AMERICA                          §
                                                  § CRIMINAL DOCKET 5:20-CR-1315-05
      versus                                      §
                                                  §  JUDGE MARINA MARMOLEJO
DAVID BELL                                        §

      UNOPPOSED SECOND MOTION TO AMEND CONDITIONS OF RELEASE

TO THE HONORABLE MARINA MARMOLEJO:

       David Bell asks the Court to amend the conditions of his release, and shows the following

in support of this request:

1.     Bell pleaded guilty to transporting undocumented aliens. A sentencing date has not be

scheduled.

2.     Bell has complied with all conditions of his pretrial release.

3.     The Court recently granted a motion to amend Bell’s conditions to allow him to accept a job

offer from Cardinal Logistics, which is a company located in the Northern District of Mississippi.

Bell’s conditions were amended so he could move to Southhaven, Mississippi, in the Northern

District to be closer to his work; and to allow him to drive a regularly scheduled route to Kansas City

(rather than the small, ad hoc driving jobs Bell had previously been driving).

4.     Bell now asks the Court to allow him to rent an apartment with co-defendant William

Shepard so that they can share living expenses.

5.     The AUSA and the Pretrial Services Office are not opposed to this request.
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                                            Respectfully submitted,

                                            /s/ David Adler
                                            ____________________
                                            David Adler
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                                            Southern District of Texas 17942
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                                            Attorney for Defendant,
                                            David Bell


                          CERTIFICATE OF SERVICE

 A copy of this motion was served upon the AUSA by e-mail on May 17, 2021.

                                            /s/ David Adler
                                            ____________________
                                            David Adler


                       CERTIFICATE OF CONFERENCE

 The AUSA and the Pretrial Services Officer are unopposed to this motion.

                                            /s/ David Adler
                                            ____________________
                                            David Adler
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

UNITED STATES OF AMERICA                      §
                                              § CRIMINAL DOCKET 5:20-CR-1315-05
    versus                                    §
                                              §  JUDGE MARINA MARMOLEJO
DAVID BELL                                    §

   ORDER ON UNOPPOSED MOTION TO AMEND CONDITIONS OF RELEASE

     Bell’s unopposed motion to amend the conditions of his pretrial release is:



                                           Granted.

     Bell can rent an apartment with co-defendant William Shepard.

     All other conditions of his release remain in effect.



                                           Denied.




     Signed on May _____, 2021.




                                                   _________________________
                                                   Marina Garcia Marmolejo
                                                   United States District Judge
